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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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     ____________________________________________
 7                                                )
     BOARD OF TRUSTEES OF THE WESTERN             )
 8   METAL INDUSTRY PENSION FUND,                 )
                                                  )                 Case No. C20-1658RSL
 9                           Plaintiff,           )
                 v.                               )
10                                                )                 ORDER TO SHOW CAUSE
     TUBE HOLDING PNEUMATIC dba WESTERN           )
11   PNEUMATIC TUBE COMPANY, LLC,                 )
     Washington UBI No. 602704980,                )
12                                                )
                             Defendant.           )
13   ____________________________________________ )
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                   On December 9, 2020, the Court issued an order requiring the parties to file a Joint
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     Status Report by January 6, 2021. No such report has been filed and the parties have not sought
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     or obtained an extension of time in which to make the required submission. The parties shall, no
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     later than Thursday, January 28, 2021, file their Joint Status Report and show cause to the Court
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     why sanctions including dismissal should not be imposed for their failure to comply with the
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     Order of December 9, 2020. The Clerk is directed to place this Order to Show Cause on the
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     Court’s calendar for January 29, 2021.
21
22                 DATED this 12th day of January, 2021.
23
24                                             A
25                                             Robert S. Lasnik
                                               United States District Judge
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     ORDER TO SHOW CAUSE
